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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                             Criminal No. 10-88(1) (DWF/FLN)

             Plaintiff,

v.                                                      ORDER ADOPTING REPORT
                                                         AND RECOMMENDATION
Arturo Lopez,

             Defendant.



Jeffrey M. Bryan, Assistant United States Attorney, United States Attorney’s Office,
counsel for Plaintiff.

Craig E. Cascarano, Essq., Cascarano Law Office, counsel for Defendant.



      Based upon the Findings of Fact, Conclusions of Law, and Recommendation by

United States Magistrate Judge Franklin L. Noel dated June 11, 2010, all the files and

records, and no objections having been filed to said Report and Recommendation,

      IT IS HEREBY ORDERED that:

      1.     Defendant’s motion to suppress confessions, admissions or statements made

in the nature of confessions (Doc. No. [68]) is DENIED AS MOOT;
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      2.    Defendant’s motion to suppress evidence obtained through illegal search

(Doc. No. [70] is DENIED.



Dated: June 29, 2010            s/Donovan W. Frank
                                DONOVAN W. FRANK
                                United States District Judge




                                         2
